                                                                             Motion GRANTED.

                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )        No. 3:10-00163
                                           )        Judge Trauger
KEAIRUS WILSON                             )

     MOTION TO ADOPT CO-DEFENDANT WILLIAMSON’S MOTION FOR DAILY
                 TRIAL TRANSCRIPT (DOCKET ENTRY 768)

       COMES NOW the Defendant, Keairus Wilson, by and through his undersigned counsel,

and hereby moves to adopt Co-Defendant Williamson’s Motion for Daily Trial Transcripts (Docket

Entry 768).



                                           Respectfully submitted,

                                           HODDE & ASSOCIATES
                                           40 Music Square East
                                           Nashville, TN 37203
                                           (615) 242-4200


                                           BY:      s/ Kimberly S. Hodde
                                                    KIMBERLY S. HODDE
                                                    Attorney for Defendant Wilson




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